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                                                                                          Jonathan J. Brennan
                                                                                          DIRECT 646.609.9299
                                                                                          EMAIL jbrennan@maynardcooper.com



                                                      October 5, 2020


  By FINRA DR Portal

  Lisa Lasher, FINRA Case Administrator
  FINRA Dispute Resolution
  Boca Center Tower 1
  5200 Town Center Circle, Suite 200
  Boca Raton, FL 33486

              Re: Beverley B. Schottenstein v. J.P. Morgan Securities, LLC, et al.
                  (FINRA Dispute Resolution Case No. 19-02053)

  Dear Ms. Lasher:

          Please be advised that the parties have conferred and would like to mutually proceed with a
  five-person “short list” option regarding a replacement for Arbitrator Donald Theodore Ryce, Jr. in
  the above-referenced matter. The parties request that they are each allowed one strike, and that
  FINRA confirm the availability of arbitrators for the current final hearing date, scheduled for October
  19, 2020 through November 6, 2020, prior to adding them to the list.

          Thank you for your attention to this matter. If you have any questions or concerns, then
  please do not hesitate to contact me.



                                                                     Sincerely,

                                                                     /s/ Jonathan J. Brennan
                                                                     Jonathan J. Brennan



  cc:       Scott C. Ilgenfritz, Esq. (by FINRA Portal)
            Gabrielle L. Gould, Esq. (by FINRA DR Portal)




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